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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

TALIA N. HARRISON,                             :
                                               :
                   Plaintiff,                  :
                                               :
                                               :   No. 4:21-cv-00607-ALM
                   vs.                         :
                                               :
TYLER TECHNOLOGIES, INC.,                      :
                                               :
                                               :
                         Defendant.            :

 DEFENDANT’S MOTION TO STRIKE PLAINTIFF’S DECLARATION IN SUPPORT
  OF HER RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff Talia N. Harrison’s (“Plaintiff”) response to Defendant Tyler Technologies, Inc.’s

(“Tyler”) motion for summary judgment, ECF No. 29, does not include a single cite to either of

Plaintiff’s two deposition transcripts. Instead, Plaintiff’s response to Tyler’s statement of material

facts relies exclusively on an inadmissible seventy-four paragraph declaration from Plaintiff.

Plaintiff’s declaration should be struck for several reasons. It is replete with legal conclusions and

conclusory statements that lack any factual basis, it is not based on Plaintiff’s personal knowledge,

and, perhaps most significantly, it directly contradicts Plaintiff’s deposition testimony without

explanation. As a result, Tyler respectfully requests that the Court strike Plaintiff’s declaration

and all factual assertions based on the declaration as set forth in Plaintiff’s response to Tyler’s

motion for summary judgment.

       I.      BACKGROUND

       This is a wage and hour case in which Plaintiff alleges Tyler misclassified her as an exempt

employee under the Fair Labor Standards Act (“FLSA”) by failing to pay her overtime

compensation. ECF No. 1. On February 10, 2022, Tyler filed its motion for summary judgment




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on the grounds that Plaintiff’s roles with Tyler qualified for the administrative and executive

exemptions. ECF No. 14.

          Plaintiff did not originally timely file a substantive response to Tyler’s summary judgment

motion, but rather asked the Court to compel Tyler to produce additional discovery and to extend

the deadline to respond to Tyler’s motion. See May 13, 2022 Minute Entry. The Court granted

Plaintiff’s request for additional time and required Tyler to identify certain Tyler employees and

to produce Plaintiff’s emails and Jira tickets Plaintiff created during her employment. After

receiving the additional documentation, Plaintiff filed her response to Tyler’s motion for summary

judgment on September 7, 2022. ECF No. 29. In support of her response, Plaintiff attached a

seventy four paragraph declaration, on which the factual background section solely relies. Id. at

Ex. 3.1

          II.    LEGAL STANDARD

          “A party may object that the material cited to support or dispute a fact cannot be presented

in a form that would be admissible in evidence.” FED. R. CIV. P. 56(c). “An affidavit or declaration

used to support or oppose a motion must be made on personal knowledge, set out facts that would

be admissible in evidence, and show that the affiant or declarant is competent to testify on the

matters asserted. Id. at 56(c)(4).

          III.   PLAINTIFF’S DECLARATION IN SUPPORT OF HER RESPONSE TO
                 TYLER’S MOTION FOR SUMMARY JUDGMENT IS INADMISSIBLE

          Plaintiff’s declaration is inadmissible for several reasons.     Given the length of the

declaration, and the number of factual assertions therein that are subject to this motion, Tyler has



1
  Notably, none of the discovery that Plaintiff allegedly needed to respond to Tyler’s motion for
summary judgment (and that resulted in an almost seven-month delay) is cited in Plaintiff’s
response to Tyler’s motion for summary judgment.


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prepared a chart that identifies its objections to the specific paragraphs of Plaintiff’s declaration.

See Exhibit A.2

                  a. Conflicting Testimony Without Explanation

          A plaintiff cannot “defeat a motion for summary judgment using an affidavit that

impeaches, without explanation, sworn testimony.” SWS Erectors, Inc. v. Infax, Inc., 72 F.3d 489,

495 (5th Cir. 1996). Throughout her declaration, Plaintiff makes statements that directly conflict

with her deposition testimony without explanation. For example, in Paragraph 8 of her declaration,

Plaintiff states that, while she was a Senior Project Manager, she “worked in Tyler’s offices.”

Decl. at ¶ 8. During her deposition, Plaintiff testified that, for nine months (more than half of the

relevant time period) while she was worked in the Senior Project Manager role, she hardly ever

came to Tyler’s offices and that she worked remotely during this time because she had moved out

of state. See Pl. Dep. 17:18-18:4, 18:9-19:5.

          Plaintiff’s declaration equates her role as a Senior Project Manager to the Implementation

Consultant employees who she supervised, and she claims that she performed the same job duties

as an Implementation Consultant that she performed as a Senior Project Manager. Decl. at ¶¶ 72-

73.3     Yet, in Plaintiff’s sworn deposition, she testified exhaustively regarding the different



2
    The relevant portions of Plaintiff’s deposition transcript is attached as Exhibit B.
3
  Conveniently, when Plaintiff’s counsel previously filed an FLSA suit against Tyler based on the
Implementation Consultant role, he claimed that it was Project Managers, not the Implementation
Consultants, who performed the major responsibilities associated with the software
implementation process. See Greene v. Tyler Technologies, Inc., No. 1:19-CV-01338-AT, ECF
No. 69 at pp. 6, 7, 13 (N.D. Ga. May 6, 2020) (“In any implementation, the project objectives were
communicated to Greene by the supervising project manager . . . Greene would notify the project
manager so they could speak to the client . . . Greene did not make recommendations about needing
to purchase additional training hours without speaking to a project manager first. . . . If they had
difficulties with it, she then either explained what they were doing wrong, or if it appeared to be a
software issue rather than a training issue, she informed her project manager who then made a
decision about sending a ticket to the technical team”).


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responsibilities she had as a Senior Project Manager, which included training Implementation

Consultants whose work she oversaw and supervised. Pl. Dep. 20:5-24:4, 179:6-15. The

numerous unexplained inconsistencies between Plaintiff’s declaration and her deposition

testimony cannot be used to defeat Tyler’s motion for summary judgment and should be struck.

       Plaintiff also now claims that preparing the project plan involved only “omit[ing] certain

steps in the implementation that corresponded to functionalities that had not been purchased by a

given customer, and which were not required for the customer’s existing payroll practices.” Pl.

Decl. at ¶ 10. However, Plaintiff testified extensively during her deposition as to what she did

when preparing a project plan, including maintaining project budgets in the project plan to ensure

the client did not exhaust its allotted implementation hours; populating tasks in the project plan to

ensure a client was ready to go live; customizing the allocation of resources on the project plan

depending on the resources available; and updating the project plan’s implementation phases in

the project plan depending on the client’s status. Pl. Dep. 107:5-108:17, 110:19-22, 113:14-20,

113:24-114:9, 115:11-116:8, 119:7-21.

       Plaintiff also claims that her initial post-contract call with a client simply “conveyed

information” and she “had no discretion how the implementation process would proceed.” Pl.

Decl. at ¶ 13. Again, Plaintiff contradicts her deposition testimony without explanation. In her

deposition, she testified that she would ask the client specific questions to clarify her understanding

of the client’s questionnaire or to learn any missing information that was needed to complete the

pre-implementation documentation for the client. Plaintiff also testified that she managed the

project during the implementation. Pl. Dep. 23:10-16, 29:19-30:16, 32:8-33:3.

       Plaintiff also now claims that if an implementation was particularly complex, she would

tell her manager and the manager would make the decision on whether to add buffer room to the




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implementation schedule. Yet, at her deposition, Plaintiff testified that when dealing with a large

client or complex implementation, she personally would go ahead and adjust an implementation

schedule to give herself buffer room. Pl. Dep. 44:13-21.

       The above statements in Plaintiff’s declaration (as well as the others set forth in Exhibit A)

should be struck due to Plaintiff directly contradicting her deposition testimony without

explanation.

               b. Conclusory/Unsupported Factual Statement

       Mere conclusory allegations are insufficient to defeat a motion for summary judgment.

Eason v. Thaler, 73 F.3d 1322, 1325 (5th Cir. 1996). Similarly, unsubstantiated assertions,

improbable inferences, and unsupported speculation are not competent summary judgment

evidence. Forsyth v. Barr, 19 F.3d 1527, 1533 (5th Cir. 1994).

       Throughout Plaintiff’s declaration, she opines on other Tyler employee’s job duties and

why management made certain decisions without providing any basis for her opinion. See, e.g.,

Decl. at ¶ 6 (“As an SPM, . . . I did typically handle far more implementations that [sic] regular

PM’s [sic] . . . This was not because of my SPM position, but because I had been working with

ExecuTime software longer than anyone else and was far more familiar with it . . . .”); ¶ 32 (“I

understand that Tyler alleges that I was responsible for ‘ensuring the team was in sync; ensuring

support tickets were resolved in a timely manner; and promoting a healthy team morale. This is

true. It is also equally true for every other ExecuTime team member’); ¶ 35 (“I understand that

Tyler alleges that I ‘created knowledge transfer materials’ . . . This is true. It is also true of

approximately 30 other Tyler employees, including IC’s and customer support personnel.”).

Plaintiff’s statements lack foundation as to personal knowledge or other evidentiary support as she




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does not explain how she has knowledge of other employees’ job duties or why management may

have made certain decisions. Such conclusory and speculative statements are inadmissible.

                 c. Lack Personal Knowledge

          “A witness may testify to a matter only if evidence is introduced sufficient to support a

finding that the witness has personal knowledge of the matter.” FED. R. EVID. 602. Plaintiff’s

declaration includes multiple instances where Plaintiff fails to establish that she has personal

knowledge of her factual assertions. For example, in Paragraph 38 of her declaration, Plaintiff

states that the feedback she provided to management after interviewing candidates “was no greater

than that of any other team member below the level of IM.” Decl. at ¶ 8. Plaintiff does not explain

how she has personal knowledge of the weight her feedback was given. Nor does she state that

management told her that her feedback was treated equally or that she discussed the feedback she

provided with any other team member. As a result, this statement, as well as other assertions

wherein Plaintiff fails to establish her personal knowledge (as set forth in Exhibit A) should be

struck.

                 d. Irrelevant/Unfair Prejudice

          ‘“Only disputes over facts that might affect the outcome of the suit under the governing

law will properly preclude entry of summary judgment. Factual disputes that are irrelevant or

unnecessary will not be counted.”’ Valencia v. Davis, 836 F. App’x 292, 296 (5th Cir. 2020)

(quoting Lewis v. Sec’y of Public Safety and Corr., 870 F.3d 365, 369 n. 10 (5th Cir. 2017)).

Relevant evidence is “evidence having any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or less probable than it would be

without the evidence.” FED. R. EVID. 401. Relevant evidence “may be excluded if its probative

value is substantially outweighed by the danger of unfair prejudice.” Id. at 403.




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       In her declaration, Plaintiff discusses her employment with ExecuTime before ExecuTime

was acquired by Tyler, including Plaintiff’s allegation that, during her employment with

ExecuTime, she asked to be demoted to a role with lesser responsibilities. Pl. Decl. at ¶ 3.

Plaintiff’s job duties during her employment with ExecuTime are not relevant to whether the job

duties she performed at Tyler qualify for an exemption under the FLSA.                Tyler acquired

ExecuTime in June 2016, Pl. Dep. 15:6-8, and Plaintiff filed her lawsuit in August 2021, ECF No.

1. As such, Plaintiff’s pre-acquisition duties at ExecuTime are well outside the statute of

limitations for Plaintiff’s claims. Moreover, Plaintiff’s conflation of her job duties while working

at ExecuTime with her job duties while employed by Tyler create confusion as to Plaintiff’s job

duties at Tyler.

               e. Legal Conclusions

       It is well-settled in the Fifth Circuit that lay witness opinions amounting to legal

conclusions are inadmissible. United States v. Keys, 747 F. App’x 198, 209 (5th Cir. 2018). For

twenty-two paragraphs in her declaration, Pl. Decl. ¶¶ 48-69, Plaintiff simply quotes language

from the Code of Federal Regulations regarding the administrative exemption. Compare 29 C.F.R.

§ 541.202(b) (“Factors to consider when determining whether an employee exercises discretion

and independent judgment with respect to matters of significance include, but are not limited to .

. . whether the employee represents the company in handling complaints, arbitrating disputes or

resolving grievances.”) with Pl. Decl. ¶ 69 (“Both as an SPM and as an IA, I did not represent

Tyler in handling complaints, arbitrating disputes or resolving grievances.”). Plaintiff makes no

effort to explain how her job duties at Tyler relate to the code provisions she cites. As a result, the

paragraphs are legal conclusions that should be struck from Plaintiff’s declaration.




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               f. Best Evidence

       Documents are the best evidence of what is contained therein. See FED. R. EVID. 1002.

Plaintiff’s declaration is replete with examples wherein she seeks to negate statements in

documents she acknowledged during her deposition as accurate. For example, in Paragraph 15 of

her declaration, Plaintiff claims that she worked on several implementations alone, without the

assistance of an Implementation Consultant. Pl. Decl. ¶ 15 (“I can recall projects in Seattle, Oak

Harbor, American Samoa, Grand Fork, Bozeman, and Baton Rouge where I worked on an

implementation alone, without an IC.”). However, Exhibit 5 to her deposition contradicts this

testimony. Exhibit 5 consists of a list of tasks Plaintiff emailed an Implementation Consultant to

complete in connection with the same implementations that she now claims she work on without

the support of an Implementation Consultant. See Pl. Dep., Ex. 5. See id. (including tasks for

Baton Rouge, Oak Harbor, and American Samoa).

       Plaintiff also attempts to use her declaration to distance herself from the language in her

resume, arguing her resume includes “inapplicable” language. Pl. Decl. at ¶ 29. Yet, at her

deposition, Plaintiff extensively discussed the language in her resume and verified its accuracy

and what she meant by the language in her resume. See Pl. Dep. 56:3-59:9, Ex. 2 (resume).

        After verifying the accuracy of the exhibits to her deposition, the Best Evidence rule

precludes Plaintiff’s efforts to use her declaration to now argue the documents are not accurate.

       IV.     CONCLUSION

       Plaintiff’s declaration in support of her response to Tyler’s motion for summary judgment

is not admissible in evidence based on the aforementioned evidentiary issues. Therefore, Tyler

respectfully requests that the Court strike Plaintiff’s declaration and all assertions in Plaintiff’s

response to Tyler’s motion for summary judgment that are based on her incompetent declaration.




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Dated:   September 21, 2022          /s/ Paulo B. McKeeby
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 21, 2022, a true and correct copy of
the above was filed using the Court’s CM/ECF system that caused notice to be served upon the
following:

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                                                     /s/ Paulo B. McKeeby
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